Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 1 of 148 PageID #:3941




            Exhibit 56
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 2 of 148 PageID #:3942
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 3 of 148 PageID #:3943




            Exhibit 57
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 4 of 148 PageID #:3944
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 5 of 148 PageID #:3945
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 6 of 148 PageID #:3946




            Exhibit 58
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 7 of 148 PageID #:3947
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 8 of 148 PageID #:3948
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 9 of 148 PageID #:3949




            Exhibit 59
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 10 of 148 PageID #:3950
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 11 of 148 PageID #:3951




            Exhibit 60
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 12 of 148 PageID #:3952
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 13 of 148 PageID #:3953
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 14 of 148 PageID #:3954




            Exhibit 61
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 15 of 148 PageID #:3955
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 16 of 148 PageID #:3956




            Exhibit 62
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 17 of 148 PageID #:3957
               CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER




                   MELONGO V. PODLASEK, ET AL., 13 C 4924
                              CCSAO 007793
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 18 of 148 PageID #:3958
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 19 of 148 PageID #:3959
               CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER




                   MELONGO V. PODLASEK, ET AL., 13 C 4924
                              CCSAO 007795
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 20 of 148 PageID #:3960




            Exhibit 63
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 21 of 148 PageID #:3961
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 22 of 148 PageID #:3962




            Exhibit 64
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 23 of 148 PageID #:3963
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 24 of 148 PageID #:3964
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 25 of 148 PageID #:3965




            Exhibit 65
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 26 of 148 PageID #:3966
               CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER




                   MELONGO V. PODLASEK, ET AL., 13 C 4924
                              CCSAO 008306
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 27 of 148 PageID #:3967
               CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER




                   MELONGO V. PODLASEK, ET AL., 13 C 4924
                              CCSAO 008307
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 28 of 148 PageID #:3968




            Exhibit 66
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 29 of 148 PageID #:3969
               CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER




                   MELONGO V. PODLASEK, ET AL., 13 C 4924
                              CCSAO 007745
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 30 of 148 PageID #:3970




            Exhibit 67
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 31 of 148 PageID #:3971
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 32 of 148 PageID #:3972




            Exhibit 68
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 33 of 148 PageID #:3973
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 34 of 148 PageID #:3974
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 35 of 148 PageID #:3975




            Exhibit 69
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 36 of 148 PageID #:3976
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 37 of 148 PageID #:3977




            Exhibit 70
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 38 of 148 PageID #:3978
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 39 of 148 PageID #:3979
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 40 of 148 PageID #:3980
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 41 of 148 PageID #:3981




            Exhibit 71
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 42 of 148 PageID #:3982




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Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 43 of 148 PageID #:3983




            Exhibit 72
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 44 of 148 PageID #:3984
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 45 of 148 PageID #:3985
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 46 of 148 PageID #:3986
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 47 of 148 PageID #:3987
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 48 of 148 PageID #:3988
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 49 of 148 PageID #:3989
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 50 of 148 PageID #:3990
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 51 of 148 PageID #:3991
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 52 of 148 PageID #:3992
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 53 of 148 PageID #:3993
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 54 of 148 PageID #:3994
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 55 of 148 PageID #:3995
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 56 of 148 PageID #:3996
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 57 of 148 PageID #:3997
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 58 of 148 PageID #:3998
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 59 of 148 PageID #:3999
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 60 of 148 PageID #:4000
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 61 of 148 PageID #:4001
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 62 of 148 PageID #:4002
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 63 of 148 PageID #:4003
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 64 of 148 PageID #:4004
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 65 of 148 PageID #:4005
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 66 of 148 PageID #:4006
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 67 of 148 PageID #:4007
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 68 of 148 PageID #:4008
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 69 of 148 PageID #:4009
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 70 of 148 PageID #:4010
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 71 of 148 PageID #:4011
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 72 of 148 PageID #:4012
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 73 of 148 PageID #:4013
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 74 of 148 PageID #:4014




            Exhibit 73
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 75 of 148 PageID #:4015
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 76 of 148 PageID #:4016
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 77 of 148 PageID #:4017
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 78 of 148 PageID #:4018
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 79 of 148 PageID #:4019
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 80 of 148 PageID #:4020
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 81 of 148 PageID #:4021
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 82 of 148 PageID #:4022




            Exhibit 74
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 83 of 148 PageID #:4023
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 84 of 148 PageID #:4024
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 85 of 148 PageID #:4025
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 86 of 148 PageID #:4026
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 87 of 148 PageID #:4027
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 88 of 148 PageID #:4028
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 89 of 148 PageID #:4029
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 90 of 148 PageID #:4030




            Exhibit 75
Case:
Case:1:13-cv-04924
      1:13-cv-04924Document
                   Document#:
                            #:295-5
                              164-1Filed:
                                    Filed:10/12/18
                                          11/22/16Page
                                                   Page91
                                                       97of
                                                          of148
                                                            308PageID
                                                                PageID#:4031
                                                                      #:824
Case:
Case:1:13-cv-04924
      1:13-cv-04924Document
                   Document#:
                            #:295-5
                              164-1Filed:
                                    Filed:10/12/18
                                          11/22/16Page
                                                   Page92
                                                       98of
                                                          of148
                                                            308PageID
                                                                PageID#:4032
                                                                      #:825
Case:
Case:1:13-cv-04924
      1:13-cv-04924Document
                   Document#:
                            #:295-5
                              164-1Filed:
                                    Filed:10/12/18
                                          11/22/16Page
                                                   Page93
                                                       99of
                                                          of148
                                                            308PageID
                                                                PageID#:4033
                                                                      #:826
Case:
Case: 1:13-cv-04924
      1:13-cv-04924 Document
                    Document #:
                             #: 295-5
                                164-1 Filed:
                                      Filed: 10/12/18
                                             11/22/16 Page
                                                      Page 94
                                                           100ofof148
                                                                   308PageID
                                                                       PageID#:4034
                                                                              #:827
Case:
Case: 1:13-cv-04924
      1:13-cv-04924 Document
                    Document #:
                             #: 295-5
                                164-1 Filed:
                                      Filed: 10/12/18
                                             11/22/16 Page
                                                      Page 95
                                                           101ofof148
                                                                   308PageID
                                                                       PageID#:4035
                                                                              #:828
Case:
Case: 1:13-cv-04924
      1:13-cv-04924 Document
                    Document #:
                             #: 295-5
                                164-1 Filed:
                                      Filed: 10/12/18
                                             11/22/16 Page
                                                      Page 96
                                                           102ofof148
                                                                   308PageID
                                                                       PageID#:4036
                                                                              #:829
Case:
Case: 1:13-cv-04924
      1:13-cv-04924 Document
                    Document #:
                             #: 295-5
                                164-1 Filed:
                                      Filed: 10/12/18
                                             11/22/16 Page
                                                      Page 97
                                                           103ofof148
                                                                   308PageID
                                                                       PageID#:4037
                                                                              #:830
Case:
Case: 1:13-cv-04924
      1:13-cv-04924 Document
                    Document #:
                             #: 295-5
                                164-1 Filed:
                                      Filed: 10/12/18
                                             11/22/16 Page
                                                      Page 98
                                                           104ofof148
                                                                   308PageID
                                                                       PageID#:4038
                                                                              #:831
Case:
Case: 1:13-cv-04924
      1:13-cv-04924 Document
                    Document #:
                             #: 295-5
                                164-1 Filed:
                                      Filed: 10/12/18
                                             11/22/16 Page
                                                      Page 99
                                                           105ofof148
                                                                   308PageID
                                                                       PageID#:4039
                                                                              #:832
Case:
Case:1:13-cv-04924
      1:13-cv-04924Document
                   Document#:
                            #:295-5
                               164-1Filed:
                                    Filed:10/12/18
                                           11/22/16Page
                                                   Page100
                                                        106of
                                                            of148
                                                               308PageID
                                                                  PageID#:4040
                                                                         #:833
Case:
Case:1:13-cv-04924
      1:13-cv-04924Document
                   Document#:
                            #:295-5
                               164-1Filed:
                                    Filed:10/12/18
                                           11/22/16Page
                                                   Page101
                                                        107of
                                                            of148
                                                               308PageID
                                                                  PageID#:4041
                                                                         #:834
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 102 of 148 PageID #:4042




             Exhibit 76
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 103 of 148 PageID #:4043
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 104 of 148 PageID #:4044
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 105 of 148 PageID #:4045
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 106 of 148 PageID #:4046
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 107 of 148 PageID #:4047
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 108 of 148 PageID #:4048
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 109 of 148 PageID #:4049
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 110 of 148 PageID #:4050
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 111 of 148 PageID #:4051
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 112 of 148 PageID #:4052
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 113 of 148 PageID #:4053
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 114 of 148 PageID #:4054
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 115 of 148 PageID #:4055
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 116 of 148 PageID #:4056
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 117 of 148 PageID #:4057
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 118 of 148 PageID #:4058
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 119 of 148 PageID #:4059
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 120 of 148 PageID #:4060




             Exhibit 77
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 121 of 148 PageID #:4061
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 122 of 148 PageID #:4062
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 123 of 148 PageID #:4063
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 124 of 148 PageID #:4064
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 125 of 148 PageID #:4065
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 126 of 148 PageID #:4066
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 127 of 148 PageID #:4067
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 128 of 148 PageID #:4068
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 129 of 148 PageID #:4069
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 130 of 148 PageID #:4070
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 131 of 148 PageID #:4071
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 132 of 148 PageID #:4072
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 133 of 148 PageID #:4073
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 134 of 148 PageID #:4074
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 135 of 148 PageID #:4075
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 136 of 148 PageID #:4076
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 137 of 148 PageID #:4077
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 138 of 148 PageID #:4078
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 139 of 148 PageID #:4079
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 140 of 148 PageID #:4080
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 141 of 148 PageID #:4081
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 142 of 148 PageID #:4082
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 143 of 148 PageID #:4083
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 144 of 148 PageID #:4084
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 145 of 148 PageID #:4085
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 146 of 148 PageID #:4086
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 147 of 148 PageID #:4087




             Exhibit 78
Case: 1:13-cv-04924 Document #: 295-5 Filed: 10/12/18 Page 148 of 148 PageID #:4088
